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                                          RECORD NO. 18-4414(L)
                                            CONS./W 18-4453

                                                         IN THE
                        United States Court of Appeals
                                    FOR THE FOURTH CIRCUIT


                               UNITED STATES OF AMERICA,

                                                                               Plaintiffs-Appellee,

                                                            v.

                                MARCUS ROOSEVELT TAYLOR;
                                  DANIEL THOMAS HERSL,
                                                                         Defendants-Appellants.


                    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                     AT BALTIMORE

                        CONSOLIDATED REPLY BRIEF OF APPELLANTS


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                                    SUMMARY OF ARGUMENT

              The conduct of certain Baltimore City Police Department (“BPD”) officers

        assigned to the Special Enforcement Section (“SES”) and the Gun Trace Task Force

        (“GTTF”) brought shame to a department with a long and venerable history.

        Momodu Bondeva Kento Gondo (“Gondo”), Evodio Calles Hendrix (“Hendrix”),

        Wayne Earl Jenkins (“Jenkins”), Jemell Lamar Rayam (“Rayam”), and Maurice

        Kilpatrick Ward (“Ward”) unquestionably earned their convictions and prison

        sentences. Having charged and convicted two other BPD officers who briefly served

        in the GTTF, Maurice Taylor (“Taylor”) and Daniel Hersl (“Hersl”), the government

        understandably has pulled out all the stops in a 122-page brief seeking to uphold

        those convictions.

              But an argument is not persuasive just because it is long and is not correct just

        because it is passionate. All racketeering acts related to wire fraud are defective,

        because the record is devoid of evidence that defendants or coconspirators knew that

        the alleged overtime fraud scheme was executed through the wires or that such use

        was reasonably foreseeable to them. Taylor, Hersl, and their colleagues handed

        paper overtime slips to a timekeeper. Later in the payroll process BPD sent data to a

        payroll processor in South Dakota. No witness testified and no document

        demonstrated that wirings were foreseeable to any conspirator. Stripped of these

        wire fraud racketeering acts, defendants’ convictions for racketeering conspiracy in



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        Count One must be reversed. The government’s attempt to buttress Count One by

        importing into that count other racketeering acts from other counts is without merit.

              In light of the fatal defects with the wire fraud racketeering acts, defendants’

        racketeering convictions in Count Two must be evaluated solely on the basis of

        racketeering acts related to robbery and conspiracy to rob. Those racketeering acts

        must fall as well. In addition to the factual and legal arguments set forth at length in

        the Consolidated Opening Brief of Appellants (“App. Br.”), it is notable that the

        government seeks to defend certain racketeering acts on the basis of theories of

        accomplice liability under Maryland law that were never presented to the jury, either

        in instructions or in closing argument. A verdict can only be sustained based on a

        theory that was actually presented to the jury, and this Court cannot speculate that

        the jury might have found accomplice liability had it been instructed about the issue.

              The flaws in Racketeering Acts 8 and 10 require the reversal of defendants

        Hobbs Act robbery convictions on Counts Three (Taylor) and Five (Hersl),

        respectively. Count Five founders for another reason: failure to prove that the

        charged incident affected interstate commerce. Notably, the government is unable to

        specify how much, if any, of the money taken from private citizens Ronald and

        Nancy Hamilton’s private residence came from an entity that engaged in interstate

        commerce. Like the wire fraud foreseeability issue on Count One, the jury could do




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        no more than speculate about this jurisdictional element. Speculation cannot sustain

        a conviction.

              The government is equally unpersuasive in defending certain evidentiary

        rulings that impermissibly prejudiced the defense. The cooperating codefendant

        police officers’ incessant use of the term “robbery” imported impermissible lay

        expert testimony into one of the central issues of the case. Ronald Hamilton’s

        expletive-laced tirade against the police rang a bell that no limiting instruction could

        unring and diverted the jury’s attention from the evidence against Taylor and Hersl

        to the harms supposedly suffered by Hamilton and his family. Similarly, the

        government cannot sustain the district court’s decision to proceed with the trial in

        face of substantial prejudicial pretrial publicity in the Baltimore area, and to deny a

        new trial after it emerged that while a government witness was testifying, a narcotics

        distribution conspiracy for which a grand jury later indicted him was ongoing.

              Finally, notwithstanding the presumption that within-guidelines sentences are

        reasonable, the district court erred in failing to follow the lead of the Supreme Court

        and other courts that have tailored the sentences of police officers to take into

        account their vulnerability in the federal prison system. Only significantly reduced

        sentences that took that factor into account would have been reasonable.




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                                            ARGUMENT

              I.     NO RATIONAL TRIER OF FACT COULD HAVE FOUND
                     BEYOND    A    REASONABLE    DOUBT     TWO
                     RACKETEERING ACTS PER DEFENDANT ON COUNT
                     ONE

              In finding both defendants guilty of RICO conspiracy under 18 U.S.C.

        § 1962(d) in Count One, the jury returned general verdicts of guilty and special

        interrogatory findings specifying two racketeering acts for each defendant. For

        Hersl, the jury found Racketeering Acts 10 (July 8, 2016 - Hamiltons) and 14 (July 6,

        2016 - interstate wire) and did not find 10 others. JA 1761-62; Tr. 2/12/18 at 18-19.

        For Taylor, the jury found Racketeering Acts 8 (March 22, 2016 - Oreese Stevenson)

        and 20 (August 3, 2016 - interstate wire) and did not find 10 others. JA 1763-64; Tr.

        2/12/18 at 19. As previously demonstrated, the government failed to prove that it

        was reasonably foreseeable to any conspirator that the submission of paper overtime

        slips would lead to the use of interstate wires. Failure to prove a mandatory

        jurisdictional element requires reversal of Racketeering Acts 14 and 20 – and

        therefore requires reversal of Count One. The government falls flat in its attempts to

        pluck tidbits of evidence of foreseeability from the trial record. But before

        addressing that issue, as a threshold matter it is necessary to address the

        government’s argument that the Count One conviction can be sustained based on

        racketeering acts the jury did not find for that count.




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                    A.     The Verdicts Cannot Be Sustained on Any Basis Other than
                           the Two Racketeering Acts Specified for Each Defendant on
                           That Count

              Under Salinas v. United States, 522 U.S. 52 (1997), to prove a RICO

        conspiracy under 18 U.S.C. § 1962(d), the government must prove the existence of

        a RICO “enterprise” in which the defendant conspired to participate, and that the

        defendant conspired that a member of the enterprise would perform at least two

        racketeering acts constituting a “pattern of racketeering activity.” Defendants and

        the government agree that under Salinas, a defendant can conspire to violate RICO

        and violate § 1962(d) without “himself commit[ting] or agree[ing] to commit the

        two or more” acts of racketeering activity. Id. at 65; see Brief of Appellee United

        States of America (“Gov. Br.”) at 25. The district court’s jury instructions on this

        issue (JA 1514-20) were correct. App. Br. at 26; Gov. Br. at 25-26.

              From this uncontroversial starting point, however, the government leaps to the

        unsupportable position that Hersl and Taylor’s convictions on Count One can be

        sustained on the basis of racketeering acts other than two acts the jury found as to

        each defendant on that specific count. First, the government argues that the

        convictions can be sustained based on language in defendants’ brief describing other

        conspirators’ conduct with regard to the Hamilton and Stevenson robberies Gov. Br.

        at 26 (citing App. Br. at 29). Apparently the government’s position is that the

        Stevenson robbery can be imported into Hersl’s Count One conviction (contrary to



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        the jury’s failure to find Racketeering Act 8 as to Hersl) and that the Hamilton

        robbery can be imported into Taylor’s Count One conviction (contrary to the jury’s

        failure to find Racketeering Act 10 as to Taylor). Alternately, the government

        proposes importing into Taylor’s Count One conviction Racketeering Act 12

        (Sept. 7, 2016 – Summerville), which the jury did not find as to Count One, but did

        find as to the Count Two charge under 18 U.S.C. § 1962(c). Gov. Br. at 26-27.

              Governing cases clearly refute the government’s attempts to buttress the

        Count One conspiracy convictions with racketeering acts that the jury did not find

        as to each defendant in that count. In a federal trial, the defendant has a Sixth

        Amendment right to a unanimous jury verdict. Johnson v. Louisiana, 406 U.S. 356,

        369 (1972); Andres v. United States, 333 U.S. 740, 748 (1948); United States v.

        Sarihifard, 155 F.3d 301, 310 (4th Cir. 1998) (“the Sixth Amendment guarantees

        that the jury’s findings of guilt be unanimous”); see Fed. R. Crim. P.

        31(a) (jury verdict must be unanimous). As reflected in the jury instructions, it is

        well-established that in both substantive and conspiracy RICO cases, the jury must

        unanimously agree on at least two of the same acts of racketeering activity. United

        States v. Merlino, 310 F.3d 137, 140 (3d Cir. 2002); United Sates v. Riccobene, 709

        F.2d 214, 227-28 (3d Cir. 1985). Courts use special verdict forms in criminal RICO

        case to ensure that juries unanimously identify the predicate acts for the general

        verdict. See United States v. Cianci, 378 F.3d 71, 91 (1st Cir. 2004); United States



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        v. Edwards, 303 F.3d 606 (5th Cir. 2002); United States v. Ham, 58 F.3d 78, 81 (4th

        Cir. 1995) (example of verdict form).

              In its verdicts for Hersl and Taylor, on Count One the jury identified only two

        racketeering acts for each defendant that it unanimously found either the defendant

        or another member of the conspiracy agreed to commit. In Taylor’s case, the jury’s

        finding with regard to the Summerville robbery in Count Two is of no relevance to

        Count One. As Justice Holmes stated in the foundational case on inconsistent

        verdicts: “Consistency in the verdict is not necessary. Each count in an indictment

        is regarded as if it was a separate indictment.” Dunn v. United States, 284 U.S. 390,

        392 (1932). That is, “a jury is permitted to return an inconsistent verdict if it sees fit

        to do so.” United States v. Hassan, 742 F.3d 104, 144 n.36 (4th Cir. 2014). That rule

        usually benefits the government; here it does not. Accordingly, while there was

        sufficient evidence for the jury to find that other conspirators agreed to commit the

        Hamilton robbery (Racketeering Act 10, but only as to Hersl) and the Stevenson

        robbery (Racketeering Act 8, but only as to Taylor), if the second racketeering act

        for each defendant related to wire fraud was not proven, Count One must fall.




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                      B.    The Specified Wire Transmissions Were Not Reasonably
                            Foreseeable to Any Conspirator

              The federal fraud statutes are not limitless. In language about mail fraud that

        fully applies to wire fraud, see, e.g., United States v. Computer Sciences Corp., 689

        F.2d 1181, 1188 n.14 (4th Cir. 1982) (citations omitted), the Supreme Court has

        cautioned that the statute “does not purport to reach all frauds, but only those limited

        instances in which the use of the mails is part of the execution of the fraud.” Kann

        v. United States, 323 U.S. 88, 95 (1944). Later, it held that “[w]here one does an act

        with knowledge that the use of the mails will follow in the ordinary course of

        business, or where such use can reasonably be foreseen, even though not actually

        intended, he ‘causes’ the mails to be used.” Pereira v. United States, 347 U.S. 1, 8-

        9 (1954). Foreseeability is measured by an objective standard. United States v.

        Edwards, 188 F.3d 230, 233-34 (4th Cir. 1999). In all instances, “[the relevant

        question … is whether the mailing is part of the execution of the scheme as

        conceived by the perpetrator at the time.” Schmuck v. United States, 489 U.S. 705,

        715 (1989).

              The government presented no evidence that the July 6, 2016 or August 3, 2016

        wires between BPD and ADP, the company that managed the BPD’s payroll

        (Racketeering Acts 14 and 20, respectively), were reasonably foreseeable to any

        conspirator. No GTTF officer knew about any connection between their paper

        overtime slips and use of the wires. To be sure, the conspirators were employed by

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        BPD, which uploaded time and attendance information to an ADP server in South

        Dakota, and most employees were paid through an electronic funds transfer,

        although no evidence was presented that any alleged conspirator was paid this way.

        But those facts just aren’t enough to show that use of the wires was objectively,

        reasonably foreseeable. As the government concedes, the GTTF officers simply

        filled out paper overtime slips and handed the slips to a timekeeper, who then entered

        the information into ADP’s eTime platform. Gov. Br. at 27-29. No evidence

        suggested, let alone proved, that any conspirator was trained in eTime, knew how

        eTime worked, or knew that later in the payroll process BPD sent wire

        communications. No timekeeper testified about communications with officers. No

        testimony of any BPD employee or contractor, and no document, supports the

        government’s claims that “[t]he jury could have inferred” that defendants and

        coconspirators “had actual knowledge that the ADP eTime system generated the

        wires charged in Count One based on their interactions with the unit’s timekeeper.”

        Gov. Br. at 29. And the government never presented such a theory to the jury. To

        the contrary, its entire closing argument on the interstate wires element was the ADP

        witness “[t]estified that ADP’s data center is in Sioux Falls, South Dakota. That

        element is met.” JA 1602.

              United States v. Burfoot, 899 F.3d 326 (4th Cir. 2018), involved precisely the

        kind of knowledge and foreseeability that is missing from this case. In Burfoot, the



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        government “offered testimony and evidence about Burfoot’s familiarity with the

        Treasurer’s office (he was, in fact, the Chief Deputy Treasurer) and how the office

        routinely accepted credit card payments for tax obligations,” as well as his personal

        involvement in demanding a credit card payment. Id. at 335. Such evidence

        permitted the jury to find it was reasonably foreseeable to Burfoot that a developer

        would use an interstate wire transfer to comply with his demand to pay delinquent

        taxes. Id. at 336. Evidence that police officers handed a paper overtime slip to a

        timekeeper permits no such finding. Rather, as in United States v. Bentz, 21 F.3d 37

        (3d Cir. 1994), the government failed to prove that the officers knew that BPD used

        wire transmissions in the ordinary course of its business. In Bentz, “use of the wire

        by a scrap metal storage facility in Pennsylvania which issues checks drawn on a

        Pennsylvania bank is not self-evident.” Id. at 41 (citation and footnote omitted).

        Likewise, it was not self-evident that a city police department would need to use the

        wires to pay its own officers.

              In addition to Bentz, this case mirrors United States v. Walters, 997 F.2d 1219

        (7th Cir. 1993), where a sports agent who improperly gave cars and money to college

        athletes successfully challenged mail fraud convictions based on mailings that

        occurred when universities required the athletes to complete forms verifying their

        eligibility and mailed copies to athletic conferences. Id. at 1221. Judge Easterbrook

        noted that “[n]o evidence demonstrates that Walters actually knew that the colleges



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        would mail the athletes’ forms.” Id. at 1223 (emphasis in original). Rejecting the

        government’s foreseeability argument, he asked: “What was it about these forms that

        should have led a reasonable person to foresee their mailing?” Id. And he added:

        “The prosecutor must prove that the use of the mails was foreseeable, rather than

        calling on judicial intuition to repair a rickety case.” Id. at 1224. Inferences must be

        derived from facts, not speculation. Sullivan v. Louisiana, 508 U.S. 275, 277–78

        (1993); Moore v. United States, 271 F.2d 564, 568 (4th Cir. 1959) (“evidence

        creating a mere probability of guilt or giving rise to a mere suspicion or conjecture

        of guilt is not sufficient.”).

               Use of the wires is not reasonably foreseeable every time a person hands a

        piece of paper to another person who is sitting at a computer. As a result, the

        government failed to prove two racketeering acts as to each defendant on Count One.

        Both RICO conspiracy convictions should be reversed.

               II.    THE GOVERNMENT FAILED TO PROVE TWO
                      RACKETEERING ACTS PER DEFENDANT ON COUNT
                      TWO

               For the substantive racketeering convictions under 18 U.S.C. § 1962(c) in

        Count Two, this Court should again set aside all racketeering acts based on wire

        fraud. Additionally, the government’s defense of the remaining racketeering acts

        based on Maryland state law offenses is not supported by the trial record.




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                    A.     Hersl Did Not Commit or Conspire to Commit Robberies

                           1.      For Racketeering Act 3 (Griffin), the Jury Rejected the
                                   Government’s Extortion Theory and the Evidence Did
                                   Not Support Its Robbery Verdict

              The pertinent portion of the verdict form relating to Racketeering Act 3

        provided:




        JA 1764.

              Try as it might, the government cannot escape the fact that Griffin’s testimony

        only supported a theory of extortion, not robbery. Griffin said that Hersl was armed

        but acknowledged that he consented to let Hersl search his person and home.

        JA 1123. Furthermore, Griffin was not present when his home was searched,

        JA 1139, meaning that he could have revoked his consent had he still felt force or

        the threat of force at that time. In closing argument, the government conceded that

        Griffin was extorted, not robbed. The prosecutor stated:

                    Now, the racketeering acts are robberies, extortions. And there’s
              two types of extortions. There’s extortions with force and extortions
              under color or pretense of office.


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                     So I’m going to start with robbery. The judge has instructed you
              on the elements. A robbery is the taking and carrying away of property
              from someone else, or someone else’s presence and control, by force or
              threat of force, with the intent to deprive the victim of the property.

                    Throughout this trial we asked every single citizen who took that
              stand whether they were restrained, whether they were arrested.

                     And you heard testimony not only from these citizens, but from
              the officers who engaged in some of these crimes as well. Every episode
              had force applied. Force is as simple as handcuffs restraining a victim
              (indicating).

                     Not only did those episodes have force, but there was the threat
              of force in every single episode as well.

                     Rightfully so, individuals testified in this case that when the
              police came to their house with vests, guns, that they submitted, they
              gave up, and that’s the element of the threat of force that they
              established. They told you what they believed would happen to them if
              they resisted.

                     You’ll be asked to make a distinction between robbery and
              extortion. We submit to you that the evidence shows in every single
              racketeering act except for one, every single one of those racketeering
              acts is a robbery except for Jimmie Griffin. The key distinction is
              whether or not there was consent.

                    An extortion is when an officer – officer or employee of the state
              may not wrongfully obtain or attempt to obtain money, property, or
              anything of value from a person with the person’s consent, if the
              consent is obtained by wrongful use or actual or threatened force of
              violence.

                    Jimmie Griffin testified that he consented. That’s why we asked
              the question over and over to every single witness. Every single other
              witness in this case testified that they did not consent to having their
              property taken.



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        JA 1576-77 (emphasis added). When he returned to the Griffin incident, the

        prosecutor stated: “Turning to Count [sic] 3, the extortion of Jimmie Griffin, the only

        person to consent to the taking of his money.” Id. at 1581. He explained that just as

        intent is required for robbery, “[i]ntent is required under the extortion element prong

        as well.” Id. at 1582. And, as previously noted, the prosecutor later stated:

                     So for Racketeering Act 3, Jimmie Griffin did testify that he
              consented. And the Government has proven beyond a reasonable doubt
              that Mr. Griffin committed extortion – or was the victim of extortion
              by Mr. Hersl and that the extortion involved the wrongful use and
              threatened force of violence and extortion under color and pretense of
              office.

        Id. at 1583.

              This concession was completely consistent with Maryland law discussed in

        App. Br. 39 and the Supreme Court’s decision in Ocasio v. United States, 136 S.Ct.

        1423 (2016). Addressing the distinction between extortion and robbery under the

        Hobbs Act, the Supreme Court held in Ocasio that extortion involved obtaining

        property from another with consent, while robbery involved obtaining property from

        a person against his will, so that “‘consent’ simply signifies the taking of property

        under circumstances falling short of robbery….” Id. at 1435. The government cannot

        salvage its position by placing the word consent in quotation marks, Gov. Br. at 35,

        or invoking the hypothetical possibility that under now-superseded Maryland

        common law there some circumstances where “consent is not a voluntary act” that




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        “may constitute a larceny.” Santoni v. State, 5 Md. App. 609, 622 (1969).1 Modern

        Maryland law is clear: robbery requires taking property without the owner’s consent.

        Leeson v. State, 293 Md. 425, 435 (1982). The government is bound by its

        concession. Racketeering Act 3 cannot stand.

                           2.       For Racketeering Act 4 (Tate), Hersl Was Neither a
                                    Principal Nor an Accomplice to a Robbery

              The government argues alternately that Hersl was a principal or an accomplice

        in the alleged robbery of Herbert Tate. No evidence supports the contention that

        Hersl was a principal. Gov. Br. at 39-40. While Tate testified that Hersl grabbed him

        and began a search, he acknowledged that Hersl did not handcuff him and did not

        personally take anything from him. JA 777-80. Officer Fassl – who did not testify –

        took money from Tate’s pocket and retained it, supposedly at Hersl’s direction.

        JA 785. Sgt. Burns, not Hersl, declined Tate’s request to count the money. JA 786.

        Sgt. Swinton testified that paperwork for Tate’s arrest listed Hersl as the arresting

        officer and showed the submission of $216 in currency (less than what Tate claimed

        he possessed), but did not say that Hersl submitted the funds. JA 1095-96.

              The government then theorizes that the jury “could have concluded that Hersl

        was a second degree principal and that Fassl was a first degree principal,” Gov. Br.

        at 40, or that “Hersl was an accomplice to Fassl as the principal.” Id. at 41. But the


        1
               Santoni preceded the rewriting of Maryland theft offenses in 1979. See Lee
        v. State, 59 Md. App. 28, 32-35 (1984).

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        government never argued accomplice liability for the Tate robbery, JA 1583-86, and

        did not ask the court to give Maryland Criminal Pattern Jury Instruction 6:00

        (Accomplice Liability) (quoted in West v. State, 2016 WL 4478872 at * 5 n. 6

        (Md. Aug. 25, 2016)). Consequently, the district court’s jury instructions relating to

        robbery under Maryland law did not address accomplice liability. JA 1536-38. While

        the court instructed the jury on aiding and abetting, those instructions were explicitly

        limited to the Hobbs Act charges in Counts Three and Five. JA 1554-57. A verdict

        can only be sustained if the jury was instructed on the specified legal theory and “the

        submission of those fact issues to the jury,” and this Court cannot infer that a jury

        instructed about accomplice liability would have convicted on that basis.

        Nye & Nissen v. United States, 336 U.S. 613, 618 (1949) (Pinkerton theory); United

        States v. Mata, 491 F.3d 237, 242–43 (5th Cir. 2007); United States v. Luciano–

        Mosquera, 63 F.3d 1142, 1150 n. 3 (1st Cir. 1995); United States v. Labat, 905 F.2d

        18, 23 (2d Cir. 1990). Because the jury was not instructed about accomplice liability

        under Maryland law, the jury finding on Racketeering Act 4 cannot be sustained on

        that basis.

                            3.      For Racketeering Act 5 (Santiful), the Government
                                    Failed to Prove Hersl Committed a Robbery

               For the racketeering act related to Antonio Santiful, the government faces an

        insurmountable obstacle in West v. State, 312 Md. 197 (1988), where the Maryland

        Court of Appeals held that a purse snatching was not robbery because the evidence

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        did not prove the purse was taken with violence, or that the victim was put in fear.

        Not surprisingly, the government does not address West (“the mere snatching or

        sudden taking away of the property from the person of another does not constitute

        sufficient force, violence, or putting in fear to support a robbery conviction”), id. at

        206, or Cooper v. State, 9 Md. App. 478, 480 (1970) (“it is not robbery … to pick

        another’s pocket without using more force than is necessary to lift the property from

        the pocket … [or] suddenly snatch property from another when there is no

        resistance…”).

              Instead, the government devotes pages to the uncontested proposition that

        issues involving force, intimidation, and fear of bodily harm are measured by an

        objective standard. Gov. Br. at 43-45. That’s not the issue. The issue is whether,

        objectively, Hersl committed robbery when he removed car keys or cash from

        Santiful’s pocket. On that issue, the government’s reliance on Coles v. State, 374

        Md. 114 (2003), is misplaced. Coles robbed the same branch of the same bank three

        times. The first time, Coles handed the teller a note that said “[P]ut some money in

        the bag” and “not to hit an alarm, not to let anybody know.” Id. at 117. The second

        time, the note read: “Put the money in the bag, no bait money, and no one will get

        hurt.” Id. He also applied physical force to retrieve the note. The third time, the note

        read: “Put all the money in the bag no alarms thank you.” Id. at 118. Affirming

        Coles’s robbery convictions, the Court of Appeals held that the first note



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        “constituted an unequivocal demand for money and an intimidating command not to

        let anyone know that Coles was stealing the money,” and further noted that when

        Coles discovered the teller had not returned his note, he warned that she “better find

        it.” Id. at 129. For the second, “[o]bviously, the language that ‘no one will get hurt’

        is sufficient to suggest bodily harm for non-compliance.” Id. at 130. And for the

        third, the court held that a rational fact finder “could have concluded that the demand

        of, ‘Put all the money in the bag,’ and the command, ‘no alarms,’ were sufficient to

        create fear of bodily harm.” Id.

              This case is much closer to West than Coles. Hersl did not verbally threaten

        or submit an implicitly threatening note. At most, Hersl’s actions were tantamount

        to snatching property and do not support a finding that he committed robbery.

                            4.      For Racketeering Act 10 (Hamiltons), Hersl Did Not
                                    Commit or Conspire to Commit Robbery

              The government does not dispute that Hersl played an extremely limited role

        in the events related to Ronald and Nancy Hamilton on July 8, 2016. Nevertheless,

        it argues that the jury could have found that Hersl committed Racketeering Act 10

        as a conspirator, a principal, or any accomplice. Gov. Br. at 47. For the reasons set

        forth in section II-A-2, accomplice liability must be rejected because the jury was

        not instructed on this theory. The verdict can only be sustained if the government

        proved Hersl was a knowing member of the Jenkins-Rayam-Gondo conspiracy or

        that he was a principal in a robbery. He was not.

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              The government first claims that Hersl joined the conspiracy because “he

        searched the house with [Rayam and Gondo] looking for money,” before local

        officers arrived. Gov. Br. at 56. Parsing through the inconsistent accounts offered by

        Rayam, Gondo, and Ronald Hamilton, the most that can be said about the sequence

        of events relating to Hersl’s actions (or lack thereof) at the Hamiltons’ house was:

              (1) Rayam and Jenkins entered the house, Hersl stayed outside, JA 935,

        987-88;

              (2) after Hamilton and his wife were taken inside, Hersl watched them,

        JA 937-38;

              (3) when Rayam, Gondo and Hersl were in the bedroom, money was found;

        Jenkins told Rayam to take the money; Rayam mentioned this to Gondo and Hersl;

        and Hersl said “Okay, whatever.” JA 599-600;

              (4) Hersl was present when Jenkins asked whether Hamilton knew of other

        “bigwigs” that could be robbed, but did not say or do anything. JA 601-02;

              (5) other officers split up stolen money; Jenkins supposedly received Hersl’s

        portion, but no one testified that Hersl received any money. JA 603-05, 1184-86.

              These facts establish nothing more than Hersl’s mere presence at the place

        where others committed a crime, which does not establish he conspired to rob the

        Hamiltons. Warfield v. State, 315 Md. 474, 491 (1989). Recognizing the problem,

        the government argues that the jury could have found Hersl guilty because of an



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        overarching conspiracy among the GTTF officers to commit robberies. Id. at 56.

        This argument fails in several ways. First, it is tautological, because it maintains that

        Hersl was guilty of racketeering conspiracy because he participated in a robbery

        conspiracy that in turn was proven by the racketeering conspiracy. That argument

        obliterates the distinction between participating in a racketeering enterprise and

        committing predicate acts. Second, if there was a long-running conspiracy to rob (as

        opposed to a discrete conspiracy to rob the Hamiltons), then why didn’t the

        government request the district court to include conspiracy to commit robbery as an

        option for the jury for the other racketeering acts the jury found against Hersl? See

        JA 1764-65. For Racketeering Act 10 in Count Two, the narrow issue was whether

        the government proved that Hersl committed or conspired to commit the Hamilton

        robbery on July 8, 2016, as opposed to being merely guilty of associating with

        Rayam, Gondo, and Jenkins. It did not.

              Turning to the question of whether Hersl was a principal, the government

        implicitly concedes that Hersl personally did not take and carry away of the

        Hamiltons’ personal property by using violence or putting them in fear. It argues,

        however, that by his mere presence during the bedroom search, and by watching the

        Hamiltons, Hersl was “a principal in the second degree,” essentially an aider and

        abettor. Gov. Br. at 58-59. Once again, however, jury was never instructed on such




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        a theory. See Section II-A-2. The government therefore cannot rely on this theory to

        salvage its robbery claim.

              As a final “Hail Mary” on this racketeering act, the government attempts to

        cobble together a circumstantial claim “that Hersl stole $3,000 of the $20,000 that

        was found in the Hamiltons’ bedroom…” Gov. Br. at 59. This specious claim rests

        on the fact that Rayam and Gondo stole $20,000 but later couldn’t find $3,000 of it.

        Rayam claimed that Hersl was briefly alone with the $20,000. In a conversation with

        Jenkins, Rayam and Gondo blamed Hersl. They also talked about the money on a

        wiretapped conversation – the transcript of which has so little probative value that

        the government does not quote it and did not include it in the joint appendix, just as

        the government does not quote any recorded conversation involving Hersl. These

        meager facts cannot sustain the jury’s finding on Racketeering Act 10.

              Hersl’s conviction on Count Two should be reversed.

                     B.    Taylor Did Not Commit or Conspire to Commit Robberies

                           1.        For Racketeering Act 2 (Whiting), Taylor Did Not
                                     Conspire to Commit Robbery

              The government relies upon the testimony of former Detective Maurice Ward

        to support its contention that it proved that Taylor conspired to commit a robbery of

        Shawn Whiting. Gov. Br. 61-64. Ward’s testimony actually proves the opposite.

        Ward was in charge of the Whiting case. JA 182. When questioned about his

        intention with respect to the Whiting search, Ward testified:

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                     Q.     And it was your intent – when you wrote that search
                            warrant, was it your intent to do a proper and lawful
                            search of the premises of Mr. Whiting?

                     A.     What do you mean by a “proper” and - -

                     Q.     Was it your intent to steal, or was it your intent to get
                            drugs and guns off the street?

                     A.     50/50, I would say.

        JA 337. Ward acknowledged that some police officers shared his mixture of criminal

        intent with trying to do the right thing, id., but never specified that Taylor shared his

        criminal intent. Id. at 337-38. Moreover, Ward’s testimony that Taylor alerted

        everyone present at the search when he found money, including officers who were

        not part of the GTTF, directly contradicts that Taylor shared Ward’s criminal intent

        from the outset. JA 180-81. On these facts, there was insufficient evidence for the

        jury to find that Taylor knowingly participating in a conspiracy to rob Whiting.

                            2.      For Racketeering Act 8 (Stevenson), Taylor Did Not
                                    Conspire to Commit Robbery

              The Oreese Stevenson incident involved two discrete events: (1) the stopping

        of Stevenson’s vehicle; and (2) the search of Stevenson’s residence. Taylor was a

        passive observer to the vehicle stop. After the stop, Taylor did search the vehicle and

        recovered drugs and cash, but the government presented no evidence that Taylor or

        anyone else removed the vehicle anything other than drugs and cash that were

        properly turned over to BPD’s evidence control unit. Hendrix testified that Taylor



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        gave him the cash from the vehicle and it was submitted to BPD’s evidence control

        unit. JA 492-94. Jenkins, who had stopped Stevenson, did take Stevenson’s

        residence key which GTTF task force members then used to do a “sneak-and-peek”

        of the residence. JA 484-88. Based on the sneak-and-peak, Hendrix and Jenkins

        obtained a search warrant for the residence. JA 488. When the group returned to the

        residence, Mrs. Stevenson was present but was asked to leave given that a warrant

        had been issued.

              The government contends that Taylor not only conspired to rob Stevenson,

        but actual participated in robbing him. Gov. Br. at 75. However, the only arguably

        illegal events in which Taylor actually participated vis-à-vis Stevenson’s property

        occurred at the Stevenson residence. Stevenson was not present at the residence.

        Taking property from the residence was at most a burglary, not robbery. Compare

        Md. Code Ann. Crim. Law § 3-401 with Md. Code Ann. Crim. Law §§ 6-201, et seq.

        Taylor was not charged with burglary and burglary is not a RICO predicate. Even

        viewed in the light most favorable to the government, the evidence does not support

        a verdict that Taylor conspired to rob Stevenson or was an active participant in

        robbing him.




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                           3.      For Racketeering Act 12 (Summerville), Taylor Did
                                   Not Conspire to Commit Robbery

              The government’s defense of Racketeering Act 12 relies entirely on the

        testimony of Rayam, who said that (1) he entered the storage unit with Taylor,

        (2) Taylor mentioned that the storage unit had cameras, and (3) Rayam handed

        Taylor “a couple dollars, some money,” without saying whether that money came

        from the storage unit. Gov. Br. at 76. Rayam also mentioned giving a $60 to Taylor

        in a conversation with Gondo, again without specifying where the money came from.

        Id. at 77. And Summerville testified that Taylor and Rayam were two of the officers

        who walked towards his storage unit. Id. at 79. A juror hearing such evidence could

        certainly have suspicions about Taylor’s conduct. But no rational juror could have

        woven these filaments into a supportable conclusion that all elements of conspiracy

        to commit robbery had been proven beyond a reasonable doubt. For this reason,

        Racketeering Act 12 cannot be sustained.

              III.   THE GOVERNMENT FAILED TO PROVE THE HOBBS ACT
                     ROBBERIES IN COUNTS THREE AND FIVE AS TO HERSL
                     AND TAYLOR, RESPECTIVELY, AND FAILED TO PROVE
                     THAT THE COUNT FIVE ROBBERY AFFECTED
                     INTERSTATE COMMERCE

              For the reasons set forth in Sections II-B-2 and II-A-4, Taylor did not rob

        Stevenson and Hersl did not rob or conspire to rob the Hamiltons, requiring reversal

        of Counts Three and Five. Additionally, on Count Five the government once again

        stumbles on the jurisdictional element, specifically the interstate commerce

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        component of the Hobbs Act. While the government must only prove a “minimal”

        effect on interstate commerce, including by proving depletion of assets of a business

        engaged in commerce, App. Br. at 48, Gov. Br. at 81-82, it failed to prove such a

        link between interstate commerce and the money stolen from the Hamiltons’ home.

              Ronald Hamilton testified that his income came from (1) an assisted living

        facility in Baltimore; (2) rental properties; (3) gambling; and (4) selling used cars

        that he purchased at auctions in Maryland and Pennsylvania. As to items (1)-(3), the

        government offered no evidence that these activities involved interstate commerce.

        As to item (4), the government offered no evidence about how much, if any, of the

        approximately $20,000 in cash stolen from the Hamiltons came from the car

        business. In closing argument, the government said nothing about the Hobbs Act

        interstate commerce element. On this record, it was impossible for the jury to

        conclude beyond a reasonable doubt that the robbery affected interstate commerce.

              The government misreads United States v. Taylor, 754 F.3d 217 (4th Cir.

        2014), which held that the robbery of a drug dealer sufficiently affected interstate

        commerce to fall within the Hobbs Act. Id. at 221-26. (The Supreme Court endorsed

        this position in Taylor v. United States, 136 S.Ct. 2074 (2016)). But as noted in App.

        Br. at 48, this Court’s Taylor decision emphasized that the Hobbs Act is not limitless,

        that not every robbery obstructs commerce, and that the Act was not violated when

        private citizens were robbed in a private residence of money, “some of which just



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        happened to ‘belong[] to a restaurant doing business in interstate commerce.” 754

        F.3d at 226 (quoting United States v. Wang, 222 F.3d 234, 240 (6th Cir. 2000)).

              The government does not directly address Wang but argues that Hamilton’s

        situation was different because he owned and operated the car business rather than

        being employed by it. Gov. Br. at 85. That distinction proves nothing. In Wang, a

        former cook at a Chinese restaurant that engaged in interstate commerce robbed the

        restaurant’s owners at their home, stealing funds that included $1,200 from the

        restaurant. 222 F.3d at 240. The government did not show a substantial connection

        between the robbery and the restaurant’s business, without which “there is no

        realistic probability that the aggregate of such crimes would substantially affect

        interstate commerce.” Id.

              Hamilton testified that BPD officers seized $3,400 from him at the traffic stop,

        JA 944, but these funds were never linked to interstate commerce. He further

        testified that the agents seized $75,000 at his home, $50,000 of which was

        heat-sealed (and not stolen). Id. at 944-49. Hamilton said his money came “[f]rom

        car sales. And I – I had just won like 40-something thousand from the casino.” Id.

        Through Hamilton’s testimony and exhibits, the government established that

        Hamilton received more than $75,000 in rental income, JA 949-51, but not how

        much he received from car sales. JA 951-53. With regard to the approximately

        $20,000 that the GTTF witnesses testified was stolen, the government made no effort



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        to show that any of it was linked to the car business that operated in interstate

        commerce, as opposed to other businesses or gambling, and did not prove the

        robbery had anything to do with the car business.

              In other words, the GTTF officers robbed private citizens in a private home

        of cash that could not be conclusively linked to interstate commerce. Any conclusion

        by the jury that the robbery involved funds from car sales was pure speculation. The

        burden of proof “is on the prosecution from the beginning to the end of the trial and

        applies to every element necessary to constitute the crime.” Davis v. United

        States, 160 U.S. 469, 487 (1895); United States v. Scott, 730 F.2d 143, 147 (4th Cir.

        1984) (reversing mail fraud count where “the Government failed to present proof of

        mailing which would allow a jury to conclude beyond a reasonable doubt that

        appellants committed mail fraud.”). It did not do so. Count Five should be reversed.

              IV.    THE DISTRICT COURT IMPERMISSIBLY PERMITTED
                     EXCESSIVE USE OF THE LEGAL TERM “ROBBERY”

              Before and during trial, the district court directed prosecutors to “be

        restrained” and not use the word robbery “unnecessarily.” JA 160, 563. Yet, again

        and again, witnesses who had entered guilty pleas under 18 U.S.C. § 1962(d)

        claimed again they had pled guilty to “robbery,” and prosecutors repeatedly asked if

        they had “robbed” victims. The government claims there was no alternative. Gov.

        Br. at 91. Here’s an alternative: the witnesses could have testified that they pleaded




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        guilty to racketeering conspiracy, and the government could have asked these

        witnesses about the myriad times they stole money, drugs, or both.

              The government claims that “[r]obbery is not some magic word, the utterance

        of which divests the jury of its role,” Gov. Br. at 91, but the question of whether the

        defendants committed robbery or some other offense which was not a RICO

        predicate act was central to the case. The non-stop testimony of police officers

        formerly employed to enforce Maryland law that that they committed robberies in

        violation of Maryland law should have been excluded under Fed. R. Evid. 403 and

        fatally prejudiced defendants with respect to this issue.

              The government also claims that the former officers’ characterization of

        certain acts as robberies did not constitute impermissible lay witness testimony

        under Fed. R. Evid. 701 because the officers “weren’t interpreting anything.” Gov.

        Br. at 92. The jury may have thought otherwise and viewed the testimony as an

        interpretation that the officers’ acts – and therefore the defendants’, when the

        testimony related to group activity – satisfied the elements of robbery under the

        Maryland Code. Such testimony ran afoul of this Court’s prohibition on opinion

        testimony that states a legal standard or draws a legal conclusion by applying law to

        the facts. United States v. McIver, 470 F.3d 550, 561-62 (4th Cir. 2006) (citation

        omitted).

              Taken as a whole, the excessive use of the term robbery was reversible error.



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              V.     THE DISTRICT COURT’S FAILURE TO DECLARE A
                     MISTRIAL AFTER RONALD HAMILTON’S OUTBURST
                     WAS REVERSIBLE ERROR

              In the middle of a trial of Hersl and Taylor – not the other GTTF officers who

        admitted robbing his house – Ronald Hamilton ignored the question posed to him

        and declared repeatedly that “this right here destroyed my whole fuckin’ family” and

        “destroyed my whole family,” including causing a divorce and financial pressure.

        JA 1028-29. The district court struck the testimony and gave a limiting instruction

        but denied a motion for a mistrial.

              The government claims that Hamilton’s victim-impact testimony, which

        might have been appropriate for a sentencing hearing but was out of bounds at trial,

        was not prejudicial because “[n]one of what he said implicated either Hersl or Taylor

        in the robbery” and the two defendants on trial did not deny that others had

        committed the robbery. Gov. Br. at 99; see also id. at 100 (testimony about impact

        on family “did not prejudice the defendants who maintained they played no part in

        it.”) The contention that impermissible testimony cannot be prejudicial if defendants

        deny their guilt is baffling. Hamilton’s outburst was inadmissible precisely because

        it had nothing to do with the defendants’ guilt. It was fatally prejudicial for the same

        reason: it created the unacceptable risk that the jury would convict Hersl and Taylor

        solely because of sympathy for Hamilton or outrage at the damage that his family




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        had suffered. See App. Br. at 58-59 (collecting cases where limiting instructions

        were insufficient to ameliorate prejudice).

              The government makes much of the fact that defense trial counsel did not seek

        a mistrial until the morning after the outburst (Gov. Br. at 97) or that Hersl’s counsel

        apologized in closing argument for Taylor’s counsel’s cross-examination of

        Hamilton. Id. at 99. Those tactical decisions did not forfeit the issue and hardly

        undermine defendants’ claims that the outburst fatally prejudiced their trial. The

        government also notes the length of the trial and the other evidence presented. Id. at

        101. That argument has little traction in light of the emotional wallop that Hamilton’s

        outburst delivered. Unringing that bell was simply not possible.

              VI.    THE DISTRICT COURT ABUSED ITS DISCRETION
                     WHEN IT DENIED TAYLOR’S MOTION TO DISMISS
                     OR POSTPONE BECAUSE OF PRETRIAL PUBLICITY

              The government does not dispute that Taylor’s motion to dismiss the

        superseding indictment or continue the trial documented extensive media coverage

        of the case and multiple press releases by the United States Attorney’s Office. The

        government also concedes that 23 potential jurors responded affirmatively to the

        district court’s question about pretrial publicity and were questioned individually at

        the bench. Gov. Br. at 103. Nevertheless, the government maintains that Taylor

        failed to establish either a presumption of prejudice or actual prejudice under Skilling

        v. United States, 561 U.S. 358 (2010).



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              The government is incorrect. As previously noted, the Skilling Court

        reaffirmed that “[n]o hard-and-fast formula dictates the necessary depth or breadth

        of voir dire.” Id. at 386. As demonstrated by responses during the individualized

        questioning, the pretrial publicity was long-running, widespread, and very negative,

        in a metropolitan area much smaller than in Skilling. Regardless of the innocuous

        answers provided by the one juror from this group who was actually seated, the

        responses collectively proved Taylor’s point – that the entire jury pool was affected

        by pretrial publicity. No amount of voir dire conducted by the district court could

        ever counteract the pretrial publicity and grant Taylor a fair trial. Even if the district

        court believed that dismissal of the charges against Taylor was not warranted, the

        only way to protect Taylor’s right to a fair trial was a cooling off period so that the

        impact of the prejudicial coverage could recede before a jury was empaneled. Failure

        to do so was an abuse of discretion.

              VII. THE TRIAL COURT ERRED BY FAILING TO GRANT A
                   NEW TRIAL FOLLOWING DEFENDANTS’ DISCOVERY OF
                   THE CHARGES AGAINST WITNESS ANTONIO SANTIFUL

              The prosecutors do not dispute that the same branch of the same U.S.

        Attorney’s Office where they work charged government witness Antonio Santiful

        with participating in a narcotics conspiracy that began in 2017, two months prior to

        Santiful’s testimony, and that defense counsel had not been informed of Santiful’s

        drug trafficking at the time he testified. Nor do they dispute their duty, under Kyles



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        v. Whitley, 514 U.S. 419 (1995), and United States v. Robinson, 627 F.3d 941 (4th

        Cir. 2010), “to learn of any favorable evidence known to the others acting on the

        government’s behalf in the case, including the police.” Kyles, 514 U.S. at 437.

              Instead, relying on a factual finding by the district court, the government

        argues that there was nothing about Santiful’s conduct to impute to any prosecutor

        until after the trial of Taylor and Hersl concluded. Gov. Br. at 115. This factual

        finding is clearly erroneous. Federal narcotics prosecutions are complex

        undertakings. The second edition of the Department of Justice’s Federal Narcotics

        Prosecutions manual is more than 1,000 pages long. Federal narcotics conspiracy

        investigations involve wiretaps, surveillance, warrants, and other tools that require

        extensive coordination between the United States Attorney’s Office and the law

        enforcement agency or agencies conducting the investigation. It is simply not

        credible that an investigation of a long-running conspiracy, which resulted in an

        indictment on May 8, 2018, had not been initiated by February 1, 2018. Knowledge

        of that investigation should be imputed to prosecutors in the same office who were

        handling this case. Failure to disclose that information violated Hersl and Taylor’s

        constitutional rights.

              The government also errs in arguing that the undisclosed information was not

        material, because it was sufficient for defense counsel to cross-examine Santiful

        about prior convictions for firearms and narcotics charges. It argues that



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        “[i]nformation that he was under investigation would not have been nearly as

        consequential as actual convictions.” Gov. Br. at 115. What the government failed

        to disclose, however, was not merely information that Santiful was “under

        investigation,” but in all likelihood information that he was actually re-engaged in

        the drug trade in the very same neighborhood where the acts charged in Racketeering

        Act 5 took place. The government further argues that there were other witnesses

        regarding the Santiful incident. Given the many holes in the prosecution’s proof

        regarding Racketeering Act 5 (see Section II-A-3), however, there is no merit to any

        claim that this act could have been proven beyond a reasonable doubt without the

        testimony of the alleged victim.

              Applying the governing de novo standard of review, this Court should find a

        material Brady violation and reverse the district court’s denial of a new trial.

              VIII. THE SENTENCES WERE UNREASONABLE

                     A.     Hersl

              Defendant Hersl does not dispute that the district court addressed the relevant

        factors under 18 U.S.C. § 3553(a) and that a within-Guidelines range sentence is

        presumptively reasonable. But in this case that presumption has been overcome. A

        216-month sentence for a former police officer is the functional equivalent of a much

        longer sentence for a different offender. The Bureau of Prisons frequently designates

        such defendants to penitentiaries thousands of miles from their place of residence,



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        to minimize interaction with prisoners they may have investigated or arrested. Even

        at such a distance, encounters between police defendants and the people they helped

        to incarcerate are not uncommon and can lead to incidents and even confinement in

        segregated housing units. Meanwhile, the defendant is housed far from family and

        friends – in Hersl’s case, far from his elderly mother, his young son, and the rest of

        his family and friends.2 The Supreme Court and other courts have taken these factors

        into account in sentencing decisions concerning police officers. App. Br. at 69-70.

        The district court’s failure to do so here was not reasonable.

                     B.     Taylor

              For the same reasons, Taylor’s sentence was also unreasonable. Taylor was a

        “newbie” to the GTTF and played a significantly lesser role in the unit’s conduct

        than the more culpable officers who testified for the government. It was foreseeable

        to the district court that, as a former police officer, he would be (as indeed he has

        been) designated to a Bureau of Prisons facility thousands of miles from his friends,

        his family, and particularly his young son. The district court’s failure to follow courts

        that took such factors into account was not reasonable.




        2
              Hersl is housed at the Bureau of Prisons’ MCFP Springfield facility in
        Springfield, Missouri. Taylor is housed at the FCI Forrest City facility in Forrest
        City, Arkansas. See https://www.bop.gov/inmateloc (last visited Feb. 7, 2019).


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                                          CONCLUSION

              Defendants Hersl and Taylor should be granted judgments of acquittal or,

        alternatively, a new trial or new sentencing hearings.

                             REQUEST FOR ORAL ARGUMENT

              Pursuant to Local Rule 34(a), appellants respectfully request that this Court

        hear oral argument in this case. This appeal raises significant issues regarding the

        scope of the wire fraud statute and the Hobbs Act as well as issues regarding the

        relationship between the federal RICO statute and state law robbery offenses.

                                                      Respectfully submitted,

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                                                      Dated: February 8, 2019



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                               CERTIFICATE OF COMPLIANCE


               1. This brief has been prepared in a proportionally spaced typeface using

         Microsoft Word, Times New Roman, 14 point.

               2. Exclusive of the table of contents; table of citations; certificate of

         compliance and the certificate of service, this Consolidated Reply Brief of

         Appellants contains 8,334 words.

               I understand that a material misrepresentation can result in the court’s

         striking the brief and imposing sanctions. If the Court so directs, I will

         provide an electronic version of the brief and a copy of the word or line

         printout.

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                                    CERTIFICATE OF SERVICE

               In accordance with Rule 25 of the Rules of the United States Court of

         Appeals for the Fourth Circuit, I hereby certify that I have this February 8,

         2019, filed the required copies of the foregoing Consolidated Reply Brief of

         Appellants in the Office of the Clerk of the Court, via hand delivery and

         electronically using the Court’s CM/ECF system which will send notification

         of such filing to the following counsel:

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